            04-23162-ash        Doc 6    Filed 01/05/05 Entered 01/06/05 00:58:39                   Imaged
                                        Certificate of Service Pg 1 of 3
                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF NEW YORK
                                               300 Quarropas Street
                                               White Plains, NY 10601


IN RE: Carol Jackson                                        CASE NO.: 04−23162−ash

SSN/TAX ID: xxx−xx−6568                                     CHAPTER: 7




                                         DISCHARGE OF DEBTOR
                                        ORDER OF FINAL DECREE

A petition under chapter 7 of title 11, United States Code was filed by or against the Debtor(s) on 7/26/04 ; an order
for relief was entered under chapter 7; no order denying a discharge has been granted. The Debtor's estate has been
fully administered.


IT IS ORDERED THAT:


1. The Debtor is released from all dischargeable debts.

2. Any judgment not obtained in this court is null and void as to the personal liability of the Debtor(s) regarding the
following:


(a) debts dischargeable under 11 U.S.C. § 523(a);

(b) debts alleged to be excepted from discharge under 11 U.S.C. § 523(a)(2),(4),(6) or (15) unless determined by this
court to be nondischargeable;

(c) debts determined by this court to be discharged.


3. All creditors whose debts are discharged by this order or whose judgments are declared null and void in 2 above,
are enjoined from instituting or continuing any action, employing any process or engaging in any act to collect such
debts as personal liabilities of the Debtor(s).

4. Jeffrey L. Sapir−7 is discharged as the Trustee of the Debtor's estate and the bond is cancelled. The chapter 7 case
of the Debtor(s) is closed.

Dated: 1/3/05                                  Adlai S. Hardin Jr., Bankruptcy Judge
           04-23162-ash           Doc 6    Filed 01/05/05 Entered 01/06/05 00:58:39                 Imaged
                                          Certificate of Service Pg 2 of 3


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

       This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case
and it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For
example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to
attach wages or other property, or to take any other action to collect a discharged debt from the debtor. [In a case
involving community property:] [There are also special rules that protect certain community property owned by the
debtor's spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required
to pay damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest,
against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case.
Also, a debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

      The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this
case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to
debts owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

       Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

       a. Debts for most taxes;

       b. Debts that are in the nature of alimony, maintenance, or support;

       c. Debts for most student loans;

       d. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

       e. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle while intoxicated;

       f. Some debts which were not properly listed by the debtor;

       g. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
       discharged;

       h. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
       compliance with the Bankruptcy Code requirements for reaffirmation of debts.


      This information is only a general summary of the bankruptcy discharge. There are exceptions
to these general rules. Because the law is complicated, you may want to consult an attorney to determine the
exact effect of the discharge in this case.
                 04-23162-ash           Doc 6     Filed 01/05/05 Entered 01/06/05 00:58:39                          Imaged
                                                 Certificate of Service Pg 3 of 3
 Enterprise Systems Incorporated
 11487 Sunset Hills Road
                                   CERTIFICATE OF SERVICE
 Reston, Virginia 20190-5234

 District/off: 0208-7                 User: lwebb                         Page 1 of 1                         Date Rcvd: Jan 03, 2005
 Case: 04-23162                       Form ID: 155                        Total Served: 11

 The following entities were served by first class mail on Jan 05, 2005.
 smg       +N.Y. State Unemployment Insurance Fund,     P.O. Box 551,   Albany, NY 12201-0551
 smg        New York State Tax Commission,    Bankruptcy/Special Procedures Section,    P.O. Box 5300,
               Albany, NY 12205-0300
 ust       +United States Trustee,    33 Whitehall Street,    21st Floor,   New York, NY 10004-2122
 3544177   +Chase Na,   4915 Independence Parkway,    Tampa, FL 33634-7518
 3544178   +Citibank,   Po Box 6500,    Sioux Falls, SD 57117-6500
 3544179   +Dell Financial Svcs,    12234 N Ih 35 Sb Bldg B,    Austin, TX 78753-1705
 3544181   +First Usa Bank Na,    1001 Jefferson Plaza,    Wilmington, DE 19801-1493
 3544182   +Ual Travel/hsb,    Po Box 9102,   Gray, TN 37615-9102
 The following entities were served by electronic transmission on Jan 03, 2005 and receipt of the transmission
 was confirmed on:
 3544175   +EDI: BANKAMER.COM Jan 03 2005 19:16:00     Bank Of America,   1825 E Buckeye Rd,
               Phoenix, AZ 85034-4216
 3544176   +Fax: 602-221-4614 Jan 03 2005 19:45:25     Chase Manhattan Bank,    4915 Independence Parkway,
               Tampa, FL 33634-7540
 3544178   +EDI: CITICORP.COM Jan 03 2005 19:16:00     Citibank,   Po Box 6500,    Sioux Falls, SD 57117-6500
 3544180   +EDI: FIRSTUSA.COM Jan 03 2005 19:16:00     First Usa Bank,   2500 Westfield Rd,
               Elgin, IL 60123-7836
                                                                                              TOTAL: 4
               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 3544174       Jackson, Carol
                                                                                                                    TOTALS: 1, * 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

First Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.




Date: Jan 05, 2005                                      Signature:
